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 8
   Attorneys for Defendants United States of America;
 9 Federal Bureau of Prisons, a governmental entity;
   Bureau of Prisons Director Colette Peters, in her
10 official capacity; and FCI Dublin Warden Thahesha Jusino,
   in her official capacity.
11
                                  IN THE UNITED STATES DISTRICT COURT
12
                       NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
13
   CALIFORNIA COALITION FOR WOMEN                     CASE NO. 4:23-CV-04155
14 PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
   G.M.; A.S.; and L.T., individuals on behalf of     DECLARATION OF MORGAN AGOSTINI IN
15 themselves and all others similarly situated,      SUPPORT OF OPPOSITION TO MOTION
                                                      FOR PRELIMINARY INJUNCTION
16                       Plaintiffs
                    v.
17
   UNITED STATES OF AMERICA FEDERAL
18 BUREAU OF PRISONS, a governmental entity;
   BUREAU OF PRISONS DIRECTOR
19 COLETTE PETERS, in her official capacity;
   FCI DUBLIN WARDEN THAHESHA JUSINO,
20 in her official capacity; OFFICER
   BELLHOUSE, in his individual capacity;
21 OFFICER GACAD, in his individual capacity;
   OFFICER JONES, in his individual capacity;
22 LIEUTENANT JONES, in her individual
   capacity; OFFICER LEWIS, in his individual
23 capacity; OFFICER NUNLEY, in his individual
   capacity, OFFICER POOL, in his individual
24 capacity, LIEUTENANT PUTNAM, in his
   individual capacity; OFFICER SERRANO, in
25 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
26 individual capacity; and OFFICER VASQUEZ,
   in her individual capacity,
27
                        Defendants.
28

   DECLARATION OF MORGAN AGOSTINI
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 1 I, MORGAN AGOSTINI, declare as follows:

 2            1.       I am an Executive Assistant employed by the Federal Bureau of Prisons (“BOP”), Federal
                                                           1
 3 Correctional Institution, at Dublin, California (“DUB”). I have held this position since July 2022. Prior

 4 to this, I held positions of increasing responsibility at the Federal Correctional Complex at Victorville,

 5 CA: Employee Development Manager, November 2020-July 2022; Unit Manager, June 2015-November

 6 2020; Case Manager, June 2011-2015; Senior Officer, January 2010-June 2011 and Correctional

 7 Officer, January 2008-January 2010. I have been employed by the BOP since January 2008.

 8            2.       DUB is located in Dublin, Alameda County. DUB FCI is an all-female low security

 9 correctional institution with an adjacent minimum DUB Satellite Prison Camp (“SCP”) for female

10 inmates.

11            3.       As an Executive Assistant/Satellite Operations Administrator, I serve both as an

12 administrator for correctional operations and programs at DUB SCP, and I serve as a key advisor to the

13 Warden on matters of DUB policy, programs, and operations. In addition to having overall

14 responsibility for DUB SCP activities, I provide direct administrative support to the Warden through

15 continuing assignments and special projects, as well as assistance to executive staff and institution

16 department heads in achieving specific program management objectives. I help plan, organize, supervise

17 and evaluate diversified programs within the institution directed toward the institution’s mission.

18            4.       Through BOP counsel, I understand that the law firms of Rosen Bien Galvan & Grunfeld

19 LLP, and the advocacy organizations, Right Behind Bars, and the California Collaborative for

20 Immigrant Justice, filed a complaint on August 16, 2023, against the Federal Bureau of Prisons, Director
21 Peters, Warden Jusino, and 12 named staff on behalf of the California Coalition for Women Prisoners,

22 eight prison inmates, and all others similarly situated. Agency counsel informs me that this is a direct

23 action under the Constitution seeking a declaratory judgment that the conditions, acts, omissions,

24 policies, and practices described in the lawsuit are in violation of the rights of Plaintiffs and the

25 purported class they represent under the United States Constitution.

26            BOP has had to confront a troublesome culture of sexual abuse among some DUB staff

27
              1
            If some part of this declaration refers only to the FCI, I will reflect “DUB FCI” in the
28 respective paragraph. Similarly, if something reflects the SPC, I will reference DUB SPC.

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 1            members, but BOP has worked diligently alongside DOJ components, i.e., Federal Bureau of

 2            Investigations (FBI), Office of the Inspector General (OIG), to excise that cancer. Though

 3            Plaintiffs’ counsel seeks 12 types of declaratory relief, DUB has either already provided this

 4            relief or is in the process of addressing ongoing needs at the time Plaintiffs’ attorneys launched

 5            this litigation.

 6                 (1) BOP adequately hires, trains and supervises its employees to prevent ongoing sexual

 7                                                     misconduct and abuse of power.

 8            5.        As to the first of the twelve requests for declaratory relief, the BOP has maintained

 9 policies to deter and address staff misconduct. Program Statement 1210.25, Internal Affairs, Office of

10 (August 1, 2023), rescinding 1210.24, Internal Affairs, Office of (May 20, 2003), and Program

11 Statement 5324.12, Sexually Abusive Behavior Prevention and Intervention Program (June 4, 2015),

12 rescinding 5324.11, Sexually Abusive Behavior Prevention and Intervention Program (January 6, 2014),

13 exemplify long-standing BOP policy regarding staff misconduct. Attachment 1 is a true and correct

14 copy of Program Statement 1210.25, Internal Affairs, Office of (August 1, 2023).

15            6.        In March 2022, BOP formed a multi-disciplinary task force to inspect, monitor, and make

16 recommendations to DUB. This Task Force visited DUB in March 2022 to speak with inmates and staff

17 and to provide an additional platform for inmates to report sexual misconduct or concerns with their

18 safety and well-being.

19            7.        BOP launched an effort to replace and revitalize supervision by a complete overall of the

20 DUB Executive team. The positions, names and starting dates of the new executive staff are as follows:
                i.      Warden 2: Either Associate Wardens Nash or Deveney will serve as Acting
21              Warden through January 6, 2024, as DUB awaits the selection of a new Warden.
22              ii.     Associate Wardens: C.D. Nash, July 30, 2023; P. Deveney, Associate Warden,
                July 3, 2022;
23              iii.    Executive Assistant/Satellite Camp Prison Administrator: M. Agostini, July 17,
                2022;
24              iv.     Captain: Jesus Valero, June 19, 2022; and Deputy Captain: Ericka Quezada, July
                17, 2022.
25
   Associate Warden. T. Robles, who started on May 22, 2022, as part of this initiative, retired on April 8,
26

27
              2
           Warden T. Jusino retired in September 2023. She began her tenure as DUB Warden on
28 February 7, 2022.

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 1 2023, and Associate Warden B. Buckner, who started on August 14, 2022, as part of this initiative,

 2 retired on August 26, 2023.

 3            8.       BOP also moved to change institution culture by a complete overhaul of the entire DUB

 4 managerial staff.
                  i.            Case Management Coordinator: K. Torrance, October 23, 2022.
 5                              a. The outgoing CMC transferred to the Western Regional Office on October 24,
 6                                 2022.
                       ii.      Correctional Services:
 7
                                a. Special Investigative Agent: S. Putnam, August 14, 2022, promoted from
 8                                 DUB Lieutenant to SIA.
                                b. Incoming Lieutenants: H. Yniquez, April 14, 2022; G. Mencos, June 19,
 9                                 2022; J. Ayala, October 9, 2022; C. Boyd, November 20, 2022; C. Jones,
                                   November 20, 2022; A. Hardy, May 7, 2023; T. Calderon, June 18, 2023.
10
                                c. Outgoing Lieutenants: From February 2022 through November 2022, four
11                                 Lieutenants retired and four Lieutenants transferred to another BOP
                                   institution.
12
                       iii.     Employee Development Manager (EDM): R. Tibunsay, December 4, 2022.
13                              a. The outgoing EDM transferred to another institution on August 14, 2022.
14
                       iv.      Facilities:
15                              a. Manager: M. Tanner, June 19, 2022.
                                b. General Foreman: C. Layne, November 6, 2022.
16                              c. The outgoing General Foreman transferred to another institution on November
                                   6, 2022.
17
                       v.       Financial Management:
18                              a. Business Administrator (BA): P. Espinoza, January 29, 2023.
                                b. The outgoing BA transferred to another institution on August 14, 2022.
19
                                c. The Supervisory Contract Specialist position remains vacant at DUB.
20                     vi.      Food Services:
21                              a. Food Service Administrator (FSA): S. Bentley, September 25, 2022.
                                b. Assistant Food Services Administrator (AFSA): P. Ortiz, August 28, 2022.
22                              c. The outgoing AFSA transferred to another institution on October 25, 2022.
23                     vii.     Health Services:
                                a. Health Services Administrator (HSA): M. Wilson, January 15, 2023, after he
24                                 initially started as Physician’s Assistant at DUB on September 28, 2022.
25                              b. Assistant Health Services Administrator (AHSA): G. Singh, July 31, 2022.
                                c. The outgoing HSA resigned on August 6, 2022, as he did not want to get
26                                 reassigned to another institution.
                                d. The outgoing AHSA promoted to HSA at another institution on August 13,
27                                 2022.
28                     viii.    Human Resources:

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 1                              a. Manager: K. Kassad, March 12, 2023.
                                b. The outgoing Manager transferred to another institution on August 14, 2022.
 2
                       ix.      Information Technology:
 3                              a. The outgoing IT Manger transferred to another agency on July 31, 2022.
 4                              b. DUB has appointed an interim IT manager while it still searches for another
                                    Manager.
 5
                       x.       Lock Smith Supervisor: T. Thwaits, October 23, 2022.
 6                              a. The outgoing Lock Smith Supervisor transferred to another institution on
                                   August 14, 2022.
 7
                       xi.      Psychology Services:
 8                              a. Chief Psychologist: A. Mulcahy, October 9, 2022.
                                b. Drug Abuse Program Coordinator (DAPC): R. Adams, October 23, 2022.
 9                              c. The outgoing DAPC transferred to another institution on November 6, 2022.
10                                 and the outgoing Chief Psychologist transferred to another institution on
                                   August 14, 2022.
11
                       xii.     Reentry Affairs Coordinator: L. Shalamon, July 2022.
12
                       xiii.    Religious Services:
13                              a. Supervisory Chaplain: M. Beck, October 8, 2023 (notified of hire on May 8,
                                   2023)
14                              b. Staff Chaplain: M. Ahmad, August 14, 2023
                                c. The outgoing supervisory chaplain transferred to another institution on
15
                                   October 23, 2022.
16                     xiv.     Trust Fund:
17                              a. Trust Fund Supervisor: R. Gonzalez, September 25, 2022
                                b. The outgoing supervisor transferred to another institution on October 9, 2022.
18
                       xv.      Unit Managers:
19                              a. J. Craig, September 11, 2022; E. Groover, October 9, 2022; Debbie Smith,
                                   November 6, 2022
20                              b. The outgoing Unit Managers transferred to other institutions on August 28,
                                   2022 and retired July 16, 2022.
21
              9.       To compete with the challenging job market that has frustrated all employers seeking to
22
     hire across all manner of work, DUB has utilized both relocation and retention incentives to increase the
23
     quantity and quality of the applicant pool. On April 27, 2023, BOP affirmed DUB’s 25% retention
24
     request for all staff. Prior to April 27, 2023, DUB had a 10% retention request for all staff since August
25
     28, 2022. DUB has also consistently held monthly staff/recruiting hiring events over the past year.
26
              10.      Beginning January 9, 2023, Annual Training commenced for Fiscal Year 2023. DUB
27
     staff, to include newly hired individuals, received training on a variety of topics specific to female
28

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 1 offenders, such as Trauma-Informed Care, Effectively Managing Female Offenders, Prison Rape

 2 Elimination Act (PREA) for Medical and Mental Health Care and PREA for Investigating Sexual Abuse

 3 in a Confinement Setting. Additional relevant training includes Addressing Inmate Sexual Misconduct,

 4 Discrimination and the EEO Process, Ethics/Standards of Conduct, and Supervision of Offenders.

 5            11.      DUB made Associate Warden P. Deveney the PREA Coordinator in July 2022. It was

 6 determined that he was best suited for fully comprehending the implementation of the standards

 7 pursuant to PS 5324.12, Sexually Abusive Behavior Prevention and Intervention Program (June 4,

 8 2015), 28 C.F.R. Part 115 (PREA National Standards): §§115.5, 115.6, Subpart A, Subpart E. Mr.

 9 Deveney has dedicated considerable time to carrying out vital functions to this role, including any

10 retaliation monitoring and notification procedures when an inmate needs to be transferred to an outside

11 hospital for sexual assault evidence gathering, evaluation and treatment. He has ensured the continuation

12 of PREA professional development and refresher training at DUB. Sexual Safety training, a component

13 of PREA, ordinarily completed within thirty days of an inmate’s arrival to their facility, has consistently

14 been provided to DUB inmates. Attachment 2 is a true and correct copy of Notification Procedures:

15 PREA Allegations Outside Hospital, dated February 15, 2023.

16              (2) BOP has implemented a confidential and reliably available method for individuals to

17              report abuse to fully independent outside authorities who are not employed by the BOP.

18            12.      As to the second claim for declaratory relief, BOP has implemented confidential methods

19 for individuals to report abuse to outside authorities not employed by BOP. These methods include:

20                     i.       Emailing the Office of Inspector General (OIG) directly: When an inmate emails

21 OIG from the Trust Fund Limited Inmate Computer System (TRULINCS), the e-mail is not traceable

22 from the institution from which the inmate filed it. The inmate can request that the report remains

23 confidential. Since OIG is separate from BOP, and OIG staff do not work for BOP, it can maintain

24 confidentiality. Inmates click on the TRULINCS “Request to Staff” tab and select the DOJ mailbox

25 entitled, “DOJ Sexual Abuse Reporting.” OIG processes reporting during normal business hours,

26 Monday-Friday, as it is not a 24-hour hotline. To ensure all inmates are aware of this procedure, the

27 Prison Rape Elimination Act (PREA) DUB FCI and DUB SCP handbooks were edited and disseminated

28 in July 2023.

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 1                     ii.      Write directly to OIG: OIG investigates certain allegations of staff misconduct by

 2 US Department of Justice employees, to include BOP employees. All other sexual abuse/harassment

 3 allegations will be forwarded by OIG to the BOP. As with email requests to OIG, inmates can request to

 4 remain anonymous to BOP. Inmates mail their correspondence to Office of the Inspector General, U.S.

 5 Department of Justice Investigations Division, 950 Pennsylvania Avenue, N.W. Room 4706,

 6 Washington, D.C. 20530. DUB staff do not read an inmate’s outgoing mail to OIG.

 7                     iii.     Call Tri-Valley Haven Staff: Beginning Thursday March 2, 2023, Tri-Valley

 8 Haven staff began offering in-person sessions at DUB for those inmates who wish to seek support for

 9 sexual assault/abuse (i.e., PREA allegations). Tri-Valley Haven is a non-governmental community

10 organization providing mental health services. The advocates from Tri-Valley Haven visit DUB every

11 other Thursday. If an inmate seeks to visit the advocates, the inmate emails Psychology Services to be

12 put on a list of interested individuals for the next available session. Inmates also may speak privately on

13 unmonitored lines courtesy of their Unit Team. DUB has published this information, the Tri-Valley

14 Haven Staff phone number and the Tri-Valley Haven mailing address for the inmate population.

15 Attachment 3 is a true and correct copy of the Tri-Valley Haven, Advocacy Services for Sexual

16 Assault/Abuse (English & Spanish versions).

17                     iv.      National PREA Reporting Hotline: In December 2022, BOP’s Reentry Services

18 began to work with the U.S. Department of Justice’s Office on Violence Against Women and outside

19 researchers to determine the parameters for a national reporting hotline. The project is expected to

20 culminate sometime in Spring 2024, and the stakeholders expect that those findings will help lead the
21 way to establish a national hotline thereafter.

22            13.      BOP has methods for individuals to report abuse within the agency but outside of the

23 institutional level. These methods include:

24                     i.       Administrative Remedy Directly to Regional Office: Pursuant to Administrative

25 Remedy Program Statement 1330.18, Administrative Remedy Program (January 6, 2014), and 28 C.F.R.

26 Section 542.14(d)(1), “If an inmate reasonably believes the issue is sensitive and the inmate’s safety or

27 well-being would be placed in danger if the Request became known to the institution, the inmate may

28 submit the Request directly to the appropriate Regional Director. The inmate shall clearly mark

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 1 “Sensitive” upon the Request and explain, in writing, the reason for not submitting the Request at the

 2 institution. If the Regional Administrative Remedy Coordinator agrees that the Request is sensitive, the

 3 Request shall be accepted.” Inmates can get forms without needing to ask a member of their Unit Team.

 4 Inmates can mail out the “Sensitive” request without staff reading it.

 5                     ii.      Write Directly to Regional or Director of BOP: Inmates can send a letter directly

 6 to the Regional Director or Director of the Bureau of Prisons, utilizing Special Mail procedures,

 7 pursuant to Program Statement 5265.14, Correspondence (4/5/2011), codified at 28 C.F.R. § 540.2(c).

 8 Unless an inmate is on restricted mail status, outgoing special mail may be sealed by the inmate and is

 9 not subject to inspection.

10                     iii.     Third Party Reporting: Anyone can report sexual abuse on behalf of an

11 inmate by accessing the BOP’s public website, specifically BOP: Inmate Sexual Abuse Prevention. To

12 initiate an investigation, a third party can provide information about the incident including the dates,

13 times, and locations where each incident took place; names of inmates, staff or others who were

14 involved; and identifying information. The information may be mailed to the Federal Bureau of Prisons,

15 Office of Internal Affairs, 320 First St. NW, Room 600, Washington, D.C. 20534. The information may

16 also be sent electronically by filling out BOP: Inmate Concerns.

17            14.      BOP also has methods for individuals to report abuse at the institutional level. These

18 methods include:

19                     i.       Crime Stoppers Hotline: Painted on the walls of the DUB housing units, inmates

20 can call the number (925) 833-7582 and report any allegations of criminal activity by DUB inmates or
21 staff to DUB Special Investigative Services.

22                     ii.      Inmate to Warden: Inmates can directly e-mail the DUB Warden with any

23 allegations of sexual abuse and/or other criminal activity.

24                     iii.     Inmate to Multiple Departments and/or Staff: Inmates can directly e-mail DUB

25 department heads and/or any department within the institution using the TRULINCS drop-down menu.

26                     iv.      Task Force Email Box: In March of 2022, DUB created the Task Force email box,

27 to provide an additional avenue for inmates to report any mistreatment, misconduct, or sexual abuse. If

28 an inmate sent an email to that email box, no one at DUB would see it, as the e-mail would be sent

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 1 directly to personnel at BOP’s Central Office in Washington, D.C. To the extent Central Office staff

 2 would make any recommendations or raise any concern, someone from Central Office would

 3 communicate those concerns directly to the DUB Warden. In November 2022, BOP closed this Task

 4 Force email box as the new DUB administration had demonstrated a transparency and responsiveness to

 5 addressing sexual abuse allegations. The Warden nevertheless reminded inmates to report any

 6 misconduct or report PREA through one of the following ways: (1) Write to DUB-InmateSIS

 7 (TRULINCS); (2) Write an Administrative Remedy; (3) Call Crime Stoppers (925) 833-7582; (4) Write

 8 to Regional Director or Director of the Bureau of Prisons; (5) Third Party Reporting; and (6) DOJ

 9 Sexual Abuse Reporting (TRULINCS). Attachment 4 is a true and correct copy of Memorandum for

10 FCI and Camp Inmate Population re: Electronic Communications, dated October 18, 2022 (English &

11 Spanish).

12            15.      All inmates can request an unmonitored legal phone call to speak to their attorney

13 pursuant to BOP Program Statement 5264.08, Inmate Telephone Regulations (1/24/2008), codified at 28

14 C.F.R. § 540.102. All inmates can send special/legal mail, which is not read by staff, pursuant to BOP

15 Program Statement 5265.14. If an inmate believes that staff have violated these policies and fears

16 retaliation at the institution, staff may file a sensitive administrative remedy with the Western Regional

17 Office in the manner described in 12(i.).

18                                          (3) BOP properly investigates claims of abuse.

19            16.      As to the third bid for declaratory relief, BOP policy requires BOP to refer sexual abuse

20 allegations to the Office of Internal Affairs (OIA). See Program Statement 1210.25, Internal Affairs,
21 Office of (8/1/2023), rescinding 1210.24 (5/20/2003) and Program Statement 3420.11, Standards of

22 Employee Conduct (12/6/2013), codified at 5 CFR Part 2635. OIA then refers all sexual abuse

23 allegations to OIG for investigation.

24            17.      The Federal Bureau of Investigations (FBI) and the Office of the Inspector General (OIG)

25 are leading the investigations of all sexual abuse and misconduct allegations at DUB. OIG and FBI have

26 each dedicated two Special Agents to handling the DUB sexual abuse cases and making regular site

27 visits to the facility as needed. OIA has posted an on-site agent at DUB.

28            18.      BOP’s Western Regional Office retains a regional Special Investigative Agent and OIA

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 1 agent.

 2            19.      The U.S. Attorney’s Office for the Northern District of California has currently

 3 prosecuted eight former DUB staff for crimes associated with sexual abuse of inmates. Those

 4 prosecutions and additional investigations continue.

 5                  (4) DUB does not place inmates who report sexual abuse into SHU because of their

 6                                                         reporting.

 7            20.      As to the fourth of the twelve claims, BOP issued guidance in October 2019, reiterating

 8 the PREA requirement that inmates at high risk for sexual victimization shall only be placed in

 9 segregated housing after BOP has assessed all available alternatives. See Program Statement 5324.12,

10 Sexual Abusive Behavior Prevention and Intervention Program (6/4/2015). BOP policy requires that

11 staff, to every extent possible, avoid interruptions to an inmate’s access to programs, privileges,

12 education and work. BOP continues to explore all alternatives to protect but not restrict victims of

13 sexual misconduct.

14            21.      SHU serves as a valid penological purpose. SHU, pursuant to Program Statement

15 5270.11, Special Housing Units (November 23, 2016), and codified at C.F.R. § 541.21, are housing

16 units in BOP institutions where inmates are securely separated from General Population and may be

17 housed alone or with other inmates. SHU help ensure the safe, secure and orderly operation of

18 correctional facilities, and protect the public, by providing alternatives to housing assignments for

19 inmates removed from the general population. Attachment 5 is a true and correct copy of Program

20 Statement 5270.11, Special Housing Units (November 23, 2016).
21            22.      Plaintiff refers to SHU as “solitary confinement,” but the term provides a misleading

22 representation of the practice. The BOP often houses two segregated inmates together in the same cell, a

23 practice known as double-celling. More appropriately, “restrictive housing” is any type of detention that

24 involves three basic elements: (1) removal from the general inmate population, whether voluntary or

25 involuntary; (2) placement in a secure cell, often with cellmate; and (3) limited daily time outside of the

26 cell.

27            23.      DUB has had some instances where the alleged sexual abuse happened prior to inmates

28 being placed in SHU for disciplinary infractions. In those instances, inmates continued to remain in

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 1 SHU pursuant to their initial placement. While DUB does not single out victims, SHU serves an

 2 important penological purposes to maintain inmate and staff safety and security, which are necessary for

 3 components for any prison to operate. SHU is not a reprisal for inmates that make allegations of sexual

 4 abuse against staff.

 5                  (5) BOP continues to monitor for any retaliation against survivors, including but not

 6                 limited to placement in SHU, and makes sure that cell and strip searches and transfers

 7                                                       accord with policy.

 8            24.       As to the fifth of the twelve claims, DUB staff is not aware of rampant retaliation by

 9 current staff. All allegations of sexual misconduct are promptly reviewed and referred to OIA, consistent

10 with the description provided in section two of this declaration. Any decision to use segregated housing,

11 cell searches and/or transfers involve multiple layers of review, both within and beyond the local

12 institution, pursuant to established policies and procedures, such as Program Statement 5270.11, Special

13 Housing Unit (11/23/2016); Program Statement 5521.06 Searches of Housing Units, Inmates, and

14 Inmate Work Areas (June 4, 2015). Any Warden, including the DUB Acting Warden, ensures that staff

15 take these steps.

16            25.       DUB has not put any alleged PREA victim in the SHU because of a PREA allegation.

17 DUB inmates, who were placed in SHU for disciplinary reasons, have made PREA allegations from

18 SHU, but those allegations were not the basis for which those inmates were initially placed in SHU.

19            26.        Since October 2022, DUB inmates have received the following number of incident

20 reports resulting in SHU placement for violating respective BOP disciplinary codes:
21                      i.      Nine Incident Reports, Code 110- Refusing to Provide a Urine Sample;

22                      ii.     Five 3 Incident Reports, Code 199- Most Like Code 112, Use of Narcotics (all of

23            which have happened in October 2023;

24                      iii.    Eighteen 4 Incident Reports, Code 113- Possession of Narcotics

25                      iv.     Forty-two 5 Incident Reports, Code 112- Use of Narcotics

26
              3
                  Two additional incident reports are pending a DHO hearing.
27            4
                  Five additional incident reports are pending a DHO hearing.
              5
28                Seven additional incident reports are pending a DHO hearing, a UDC hearing or pending investigation.

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 1            27.      DUB has had more positive UAs, 21, in the last four months, July – October 2023, than

 2 in the previous eight months, 13. Owing to an increase in drugs on the compound, more inmates have

 3 been placed in SHU over the last several months. 6

 4            28.      While not mandatory, in approximately March 2023, DUB executive staff affirmatively

 5 began to instruct each/the Unit Team to routinely run rosters for preventing those inmates at risk for

 6 sexual victimization to be housed together because of a risk of abusiveness or predatory behavior. DUB

 7 executive staff instructed each/the Unit Team to begin to consider every inmate’s criminal history

 8 through their Presentence Investigation Report (PSI). If DUB identifies any inmates at risk for sexual

 9 victimization, DUB utilizes local procedures to run these rosters to ensure that DUB does not house

10 victims and predators of sexually abusive behavior together.

11            29.      While Program Statement 5521.06 does allow for discretion for visual (strip) searches

12 following certain events, the BOP has a nation-wide practice for conducting a visual search following a

13 contact visit when it is at a Low Security facility or higher security classification. Since DUB includes a

14 Low, staff at the Low should be conducting a visual search for every inmate who has received a contact

15 visit. To the extent previous administrations may not have required a visual search after DUB Low

16 security visits, that practice would be inconsistent with sound correctional practices. Thus, the Acting

17 DUB Warden has consistently sought to implement this policy, as visual searches after contact visits

18 help protect the introduction of illegal contraband items (e.g. drugs, cell phones, etc.) from illegally

19 entering DUB. Pursuant to 28 C.F.R. § 552.11(c)(1), staff may conduct a visual search when there is

20 reasonable belief that contraband may be concealed on the person, or a good opportunity for
21 concealment has occurred. Additionally, 28 C.F.R. § 552.11(a), electronic devices, and § 552.11(b), pat

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23            6
                Since drug use has notably increased since July 2023, DUB has recently decided to implement the
     Diversion Program to assist inmates who have received recent discipline or currently face the disciplinary process
24   for drug-related offenses. DUB will utilize Drug Abuse curriculum and provide alternative measures for less
     restrictive housing opportunities for inmates who want to seek help for their DUB drug use concerns. DUB,
25   where appropriate will refer inmates to the Medication-Assisted Treatment (MAT) Program or, if eligible,
     Residential Drug Abuse Program. When inmates have committed prohibited acts regarding illicit drug use, the
26   disciplinary process will be issued and an incident report issued. However, inmates may be afforded the
     opportunity to remain in General population, until seen by the DHO. During the DHO process, the inmate may
27   contract with DUB Psychology Services to participate in the Diversion Program and the disciplinary process will
     be suspended, pending clear conduct for a specified amount of time. Members of the Executive team have held
28   Town Halls and made TRULINCS notifications regarding efforts to mitigate contraband in the institution.

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 1 search, allow staff to utilize those respective types of searches on a routine or random basis to control

 2 contraband. Pursuant to 28 C.F.R. § 552.11(c)(1), staff may conduct a visual search when there is

 3 reasonable belief that contraband may be concealed on the person, or a good opportunity for

 4 concealment has occurred. Additionally, 28 C.F.R. § 552.11(a), electronic devices, and § 552.11(b), pat

 5 search, allow staff to utilize those respective types of searches on a routine or random basis to control

 6 contraband.

 7            30.      Program Statement 5521.06 affords Wardens broader discretion on whether a visual

 8 search is necessary following every contact visit at the Satellite Prison Camp (SCP). To the extent a

 9 Warden wants to conduct a visual search of a SCP inmate following a contact visit, the BOP practice is

10 to randomly search, or search based on specific reasons, i.e., reasonable belief of contraband

11 introduction. DUB greatly defers to a Warden’s discretion on formulating their visual search policy at a

12 Camp, particularly based on an increase in drones introducing contraband, and especially after an inmate

13 successfully smuggled and tried to use a firearm at another one of BOP’s Satellite Prison Camps.

14            31.      The SCP does not currently mandate 100% visual searches following a contact visit.

15 SCP staff either conduct a pat-search following a contact visit or conduct an occasional random strip

16 search which serves as a deterrent to contraband introduction.

17            32.      DUB has a procedure in place to ensure the return of non-contraband items after cell

18 searches. The inmates submit a form to the confiscation officer to request the return of property.

19 Attachment 6 is a true and correct copy of the BOP Confiscation Form.

20                   (6) BOP ensures that officers who have substantiated claims of sexual abuse and

21                   harassment are promptly fired and not permitted to return to BOP employment.

22            33.      As to the sixth claim, DUB reviews allegations of serious misconduct on a case-by-case

23 basis and takes appropriate administrative measures. DUB currently has placed 19 staff on

24 administrative leave concerning sexual abuse allegations, up from 16 staff approximately six months

25 ago. Where allegations of sexual abuse are sustained, employees are disciplined, up to and including

26 removal pursuant to 5 U.S.C. Chapter 75 and Program Statement 3420.11, Standards of Employee

27 Conduct (12/6/2013). DUB has terminated three employees suspected of sexual abuse.

28            34.      OIA sends a weekly report to the leadership of each of the BOP’s six regions to advise on

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 1 any new sexual misconduct allegations. This report ensures that leadership at all levels of BOP are

 2 aware of allegations as they arise and on decisions regarding the employee’s status during the course of

 3 investigation. Since early in the Director’s tenure, the Director and OIA meet monthly to discuss

 4 progress on existing cases, including any major case developments, new issues, and hiring and

 5 onboarding status.

 6            35.      Of the officers referenced in Plaintiff’s complaint, and referenced in their motion for

 7 preliminary injunction, the following officers were investigated, the claims of sexual misconduct were

 8 substantiated, they were terminated from employment, and in all cases were prosecuted criminally:

 9                                        i.       Officer Bellhouse

10                                       ii.       Officer Chavez

11                                      iii.       Warden Ray Garcia

12                                       iv.       Officer Klinger

13                                       v.        Officer Nunley

14                                       vi.       Chaplain Highouse

15                                      vii.       Officer Jones

16                                     viii.       Officer Smith

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10             (7) BOP provides constitutionally adequate medical and mental health care to survivors of

11                             sexual abuse, though understaffing provides perennial challenges.

12            39.      As to the seventh of the twelfth claim, BOP medical policies and Clinical Guidelines are

13 published for transparency at www.bop.gov, and illustrate the agency’s comprehensive approach to

14 inmate health care, pursuant to BOP Program Statement 6010.05, Health Services Administration

15 (6/26/2014), and www.bop.gov/resources/health_care_mngmt.jsp. At the start of 2023, DUB had

16 replaced the Health Services Administrator, Assistant Health Services Administrator, and maintains four

17 nurses, a paramedic, pharmacist and some support staff. At the start of 2023, DUB employed four

18 psychologists, two drug treatment specialists and one Master’s level clinician. Both Health and

19 Psychology Services continue to exercise the hiring and recruitment practices outlined in section one of

20 this declaration as well as explore other options that don’t require Congressional approval to attempt to
21 fill existing openings, such as recruitment fairs for newly graduated psychologists.

22            40.      Due to Health Services staffing shortages, DUB has requested periodic moratoriums

23 since summer 2022 on any future or incoming transfers or inmate designations to DUB. For example,

24 BOP approved DUB’s request for a 90-day moratorium from late June through late September 2022, and

25 again from late September through late December 2022 due to a lack of available medical service

26 providers in the Dublin, CA area. DUB’s recent October 2023 request for a moratorium was denied in

27 favor of utilizing temporary staff assistance from another institution. These moratoriums enabled DUB

28 to maintain a level of care commensurate with the standards outlined above.

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 1            41.      As referenced in section two of this declaration, DUB re-established a relationship with

 2 Tri-Valley Haven in October 2022, and the Memorandum of Understanding is in effect until October 24,

 3 2027. DUB has had a longstanding relationship with Tri-Valley Haven; however, like most agencies

 4 across the country during the pandemic, in-person services were not feasible. The Director of Sexual

 5 Assault Services and one of her staff, a trained advocate, toured the facility in January 2023. The goal of

 6 the tour was to ensure Tri-Valley Haven staff felt comfortable and welcome in the institution. Their staff

 7 met with our Chief Psychologist and PREA Compliance Manager to ensure appropriate procedures were

 8 in place, should the individuals in our custody request services, either telephonically or in-person, from

 9 them. In March 2023, we began having advocates from Tri-Valley Haven come in bi-weekly to provide

10 in-person services to individuals in our custody. Attachment 3 is the TRULINCS notice to the inmates

11 advising that advocates would come regularly, and inmates were able to request services through the

12 Chief Psychologist, who handled scheduling. Executive staff continue to receive positive feedback from

13 both inmates and advocates from Tri-Valley. DUB believes our partnership with Tri-Valley reflects our

14 ongoing commitment to provide much-needed services to those who have been sexually assaulted while

15 in BOP custody.

16            42.      DUB Psychology Services offers RESOLVE, a non-residential trauma-focused treatment

17 program for female inmates who have a history of physical and/or sexual abuse. The psycho-educational

18 component, the Trauma in Life Workshop, is open to all inmates. If the inmates want more experience

19 and they satisfy criteria to be admitted into the program, the inmate continues on with Seeking Safety

20 groups, followed by Dialectical Behavior Therapy (DBT) and Cognitive Processing Therapy (CPT)
21 groups. Inmates may self-select into treatment, and DUB generally runs two to three cohorts at any

22 given time in various stages of the treatment program. Additionally, Psychology Services also considers

23 referrals to RESOLVE via a review of their mental health history.

24            43.      DUB Psychology Services offers the Trauma Life Workshop to address challenges

25 inmates face following exposure to traumatic life events and the strategies these inmates may use to

26 enhance their resilience or ability to survive and thrive following these events. Any female inmate with a

27 history of abuse or an interest in learning about this topic may participate in the Trauma in Life

28 Workshop.

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 1            44.       DUB Psychology Services offers the Circle of Strength Program, a 13-week workshop

 2 that provides weekly information on the adjustment to incarceration, understanding triggers, coping

 3 skills, and open discussion topics to prepare for release back to the community. Specialized staff assist

 4 weekly with the topics at hand and run by a member of the Executive Staff or designee.

 5            45.       BOP Psychology Services offers Female Integrated Treatment (FIT) program, which is a

 6 more wholistic treatment focused on trauma, substance abuse and vocational needs. DUB Psychology

 7 Services does not offer FIT, but it conducts appropriate screenings to ensure it refers requests for FIT to

 8 BOP institutions currently offering FIT, either in English or Spanish.

 9                  (8) BOP provides timely and consistent access to confidential attorney calls and visits.

10            46.       As to the eighth of the twelve claims, BOP has provided access to attorneys to speak to

11 survivors, and the current Warden works to ensure the applicable policies are observed:

12                      i.      Program Statement 5265.14, Correspondence (April 5, 2011) allows attorneys to

13 send special/legal mail to inmates at FCI Dublin. If the mail is properly marked under this policy, staff

14 will only open it in the presence of the inmate, scan it for contraband and not read the contents, and

15 finally give it directly to the inmate.

16                      ii.     Program Statement 1315.07, Legal Activities, Inmate (August 1, 2023) allows for

17 attorneys to meet with their clients in the FCI Dublin visiting room. This is done by appointment via

18 email, and it is coordinated with the Executive Assistant and Unit Management. If the attorneys

19 encounter any issues with the process, they can seek assistance from the Western Regional Counsel’s

20 Office.
21                      iii.    Program Statement 5264.14, Inmate Telephone Regulations (January 24, 2008),

22 inmates or attorneys can ask for an unmonitored phone call when the special/legal mail process and legal

23 visitation process are inadequate to meet their needs. Though national policy did not mandate the

24 creation of private offices, FCI Dublin created private offices in 2022 to facilitate such calls where staff

25 can monitor the call from outside the room. Again, if attorneys encounter any issues with this process,

26 outside attorneys can seek assistance from the Western Regional Counsel’s Office.

27            47.       Pursuant to BOP Program Statement 5265.14, Correspondence (April 5, 2011), codified

28 at 28 C.F.R. § 540.14, BOP retains the right to open and read all general correspondence. Institution

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 1 staff shall open and inspect all incoming general correspondence, which may be read as frequently as

 2 deemed necessary to maintain security or monitor a particular problem confronting an inmate. Outgoing

 3 mail from a sentenced inmate in a Low (DUB FCI) or Minimum (DUB SCP) may be sealed by an

 4 inmate and sent out unopened and uninspected. Contrarily, Special Mail, including mail from attorneys

 5 and the Court, may not be read or copied if the sender is adequately identified on the envelope, and the

 6 front of the envelope is marked “Special Mail- Open only in the presence of the inmate.” However, it

 7 shall be opened in the presence of the inmate for inspection for physical contraband and the qualification

 8 of any enclosures as special mail. These regulations and policies help ensure the safety of inmates and

 9 staff by making sure no contraband is introduced into the institution via mail.

10            48.      Pursuant to BOP Program Statement 5267.09, CN-1, Visiting Regulations (August 1,

11 2023), areas designated for attorney visits will be arranged to provide adequate unobstructed visual

12 supervision. Where such a room is not available, an attorney visit may occur in a regular visiting room,

13 provided there is some degree of separation from other visitors. If such separation is not available, the

14 attorney may reschedule the visit. This policy is to make sure, in part, to make sure no contraband is

15 passed between visitors and inmates.

16            49.      In January and April 2023, the Western Regional Counsel’s Office responded to some of

17 Plaintiffs counsels’ concerns about the ability to communicate with clients confidentially and

18 consistently through mail, visits and telephone calls. Attachment 7 is a true and correct copy of the

19 January 18, 2023, Legal Access to Counsel letter. Attachment 8 is a true and correct copy of the April 3,

20 2023, Allegations of Unconstitutional Conditions & Ongoing Sexual Assault at FCI Dublin. In the
21 January 18, 2023 letter, BOP outlined how outside counsel can confidentially communicate with their

22 clients through mail, visits and telephone calls. In the April 3, 2023, BOP addressed allegations of

23 unconstitutional conditions and ongoing sexual assault at FCI Dublin.

24            50.      On March 28, 2023, DUB published an institutional supplement, DUB 5267.09(a)

25 Visiting Regulations (March 28, 2023), rescinding DUB 5567.08(D) Visiting Regulations (April 9,

26 2018), and updating the rules, regulations and procedures for social, legal and special visitation at DUB.

27 If outside attorneys encounter any issues with this process, they can and have sought assistance from the

28 Western Regional Counsel’s Office.

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 1            51.      On April 3, 2023, BOP announced the Pilot Phone Program via a letter to various

 2 advocacy groups. Since that date, DUB has notified the inmate population of this pilot program, and

 3 DUB has added phone numbers of mental health providers and attorneys to the system. The DUB

 4 inmate population has utilized this system regularly. When DUB first rolled out this Program in April

 5 2023, the platform could only accommodate limited phone numbers. The platform was able to store 37

 6 telephone numbers in April 2023, approximately 148 numbers at the close of July 2023, and now has

 7 grown to over 279 numbers at the close of October 2023. While DUB continues to monitor and evaluate

 8 the Pilot Phone Program to make adjustments as needed, stakeholders, staff and inmates all seem

 9 pleased with its success. DUB has also created formal notices to inmates when DUB have approved and

10 entered the requested telephone number. Those notices also include instructions on usage and access.

11 Currently, each housing unit, SHU, SCP and UNICOR all contain one private phone room. Attachment

12 9 is a true and correct copy of the April 6, 2023 Notice to the Inmate Population.

13            52.      In April 2023, DUB secured funding for three attorney-client visiting room pods and

14 contracted with a vendor in May 2023 for delivery. On August 24, 2023, DUB completed two attorney-

15 client visiting room pods in the institution visiting room. On August 25, 2023, DUB completed a third

16 attorney-client visiting room pods in the institution visiting room. Attached is a true and correct copy of

17 the visiting room pods taken August 24, 2023.

18            53.      Over the last twelve months, DUB FCI and DUB SCP approved and processed many

19 legal visits and tours. From the outset of my tenure as DUB Executive Assistant/ Satellite Operations

20 Administrator, DUB has accommodated legal visits for a number of inmates, only seeking to limit the
21 number of inmates visited at any one time to approximately twenty for safety and security issues

22 connected to prison movement, programming, and staffing.

23                                  (9) BOP plays no role in the U-Visa Certification Process.

24            54.      As to the ninth of the twelve claim, the “U-Visa Certification Process” is under the

25 purview of the U.S. Attorney Offices, law enforcement agencies and the Department of Homeland

26 Security. To the extent that DUB inmates need access to their counsel or need to send correspondence to

27 DHS, prior policies outlined in section two of this declaration apply.

28            (10) BOP created a process to assist survivors of abuse with compassionate release petitions

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 1                      until the USSC Sexual Abuse Amendment took effect on November 1, 2023.

 2            55.      As to the tenth of twelve claims, the BOP has created a process to assist survivors of

 3 abuse with compassionate release petitions pursuant to Program Statement 5050.50, Compassionate

 4 Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 3582 and 4205(g)

 5 (January 17, 2019). Though one’s classification as a victim of sexual abuse was not a listed basis as one

 6 of the qualifying criteria, the BOP Director has initiated four Compassionate Release requests for

 7 victims of sexual assault resulting in three compassionate releases. 8 Four additional inmates sought and

 8 were granted Compassionate Release pursuant to their own motion.

 9            56.      On November 1, 2023, pursuant to the US Sentencing Commission, an amendment took

10 effect wherein a victim of sexual assault or physical abuse resulting in serious bodily injury committed

11 by a correctional officer or other employee or contractor of the Bureau of Prisons while in custody

12 became a qualifying criteria for compassionate release, available at

13 https://www.govinfo.gov/content/pkg/FR-2023-05-03/pdf/2023-09332.pdf.

14                (11) BOP has installed fixed cameras in areas where abuse is known to occur at DUB and

15                                        upgraded cameras that required modernization.

16            57.      As to the eleventh of twelve claims, BOP received funding in May 2022 for a

17 comprehensive new DUB video camera project consisting of 141 updated cameras. DUB’s goal was to

18 have 323 video cameras operational by September 30, 2023. Instead, DUB now has 385 cameras online

19 and recording, consisting of 193 digital and 192 old analog cameras, including twelve new digital and

20 twelve new analog cameras. Of the 19 Western Regional institutions, DUB now has the most cameras.
21            58.      Both DUB digital and analog cameras will overwrite video 14 days after incident, which

22 is standard retention time across BOP institutions.

23            59.      DUB SCP Unit J2 (Quarantine Unit) has operational cameras.

24            60.      While there are no cameras inside DUB staff offices, DUB has cameras that focus on the

25 area surrounding the compound officer’s station. Additionally, staff completes thrice-daily reporting to

26 ensure all cameras are operational. Staff immediately report discrepancies to the Operations Lieutenant

27
              8
                  The other BOP Director-initiated Compassionate Release request is also expected to result in
28 release.

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 1 leading to a work-order for non-operational cameras. The camera enclosure is a vandal resistant dome

 2 to minimize any unnecessary damage or environmental challenges.

 3                  (12) BOP provides living conditions that afford inmates suitable living conditions, to

 4                                               include robust programming options.

 5            61.      As to the twelfth of twelve claims, BOP Program Statement 1600.12, National

 6 Environmental Protection Policy (June 1, 2017), rescinding 1600.09, Occupational Safety,

 7 Environmental Compliance, and Fire Protection (October 31, 2017), ensures that BOP monitors and

 8 addresses environmental issues at all of our institutions. DUB has three staff members in the Safety

 9 Department, who regularly monitor issues as they arise.

10            62.      BOP staff provide weekly fire, safety, and sanitation inspection. Staff can report any

11 unsafe or unhealthy conditions to their supervisors or other prison officials, such as the warden. Staff

12 can also report to the Occupational Safety and Health Administration (OSHA).

13            63.      Throughout the last eight years, BOP’S OGC has provided recommended guidelines to

14 Safety Administrators to address any mold issues in their respective institution. Since OGC has told us

15 that there is currently no federal standard or recommendation (e.g. OSHA, NIOSH, EPA) for airborne

16 concentrations of mold or mold spores, guidance has focused on preventative mold measures. If there is

17 a mold issue at the institution, OGC has offered guidance to address the outbreak based on guidance

18 from OSHA, Centers for Disease Control and Prevention (CDC) and Environmental Protection Agency

19 (EPA).

20            64.      I am told that BOP’s OGC has actively reviewed and made decisions on over 70

21 particularized DUB claims related to asbestos, mold, and/or bird feces, but investigations did not

22 substantiate any of those individual claims or find any merit for any compensation.

23            65.      As a result of the historic rainfalls during the 2023 winter, a sink hole formed on DUB

24 property, and Facilities filled the sinkhole in February 2023. The sinkhole temporarily impacted outdoor

25 recreation and religious ceremonies until its filling and a new area could be designated for religious

26 ceremonies.

27            66.      DUB is unaware of systemic issues with its food, education or other programming

28 reported by the larger DUB inmate population.

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 1            67.      DUB provided a number of vocational training programs in fiscal year 2023 as it ramped

 2 up programming coming out of the pandemic, and DUB will continue those programs and add new ones

 3 in fiscal year 2024. Those programs include the following:

 4                     i.       Culinary Arts- Baking: The class provides a National Occupancy Competency

 5 Testing Institute certification in baking. Inmates receive training in cake decorating and food handling.

 6 DUB graduated 11 inmates from this program in fiscal year 2023.

 7                     ii.      Culinary Arts: In fiscal year 2024, DUB will expand its culinary arts program

 8 from a standalone baking program into a full 600-hour, year-long, culinary arts program. Approximately

 9 twenty new inmates are estimated to enroll in fiscal year 2024.

10                     iii.     ServSafe: DUB provides three kinds of ServSafe food handling certifications: (1)

11 Food Handler- 24 currently enrolled; (2) Alcohol Handler- 10 currently enrolled; and (3) ServSafe

12 Manager- 0 currently enrolled. DUB documented 167 Servsafe completions in fiscal year 2023.

13                     iv.      Industrial Technology Maintenance: This new program will start in fiscal year

14 2024. DUB has hired an instructor and purchased the equipment. DUB will start the program once the

15 equipment arrives.

16                     v.       Personal Trainer: DUB is currently trying to hire this position.

17                     vi.      Department of Labor Apprenticeships: DUB currently offers plumbing, welding,

18 carpentry, HVAC, dental assistant and UNICOR customer service representative. Each apprenticeship

19 program runs through the Department of Labor and requires a detail foreman to provide personal

20 instruction and track requisite hours. Most apprenticeships require one journeyman, or BOP staff, to
21 three inmate apprentices. Apprenticeships can take between 1-5 years to complete. DUB has two inmate

22 apprentices in carpentry maintenance, one inmate apprentice in plumbing and six inmate apprentices in

23 customer service. The DUB SCP has one inmate apprentice as a landscape technician, one inmate

24 apprentice in carpentry maintenance, and one inmate apprentice as electrician maintenance. Eight

25 inmates from DUB FCI and DUB SCP completed apprenticeships in fiscal year 2023.

26                     vii.     UNICOR: In January 2006, the Services Business Group UNICOR Call Center

27 operations began. The DUB FCI Call Center operates Monday through Friday between the hours of 6:30

28 A.M. and 3:30 P.M. and provides inbound/outbound outsourcing in partnership with four private sector

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 1 companies at various stages of ramp-up. The UNICOR Call Center can employ up to 200 inmates and

 2 seven staff. The Call Center inmate agents handle a call flow of 380,160+ calls per month. The

 3 UNICOR Call Center provides customer service and typing skills training, a Customer Service

 4 apprenticeship program, a Quality Assurance apprenticeship program, and an Inmate Scholarship

 5 Program, which provides inmates with the opportunity to continue business courses, industry courses

 6 and vocational training as well as earn First Step Act Federal Time Credits upon the completion of 500

 7 UNICOR work hours. DUB’s UNICOR Call Center provides releasing inmates with recommendation

 8 letters, resumes, cover letters and assistance with local job searches. Current customers provide work

 9 opportunities from community-based call centers in San Diego and Tallahassee. Our UNICOR

10 customers offer work-from-home opportunities in various locations. Since January 2022, over 30 former

11 DUB inmates, upon release, have obtained job placement with partnered companies as account

12 executives, agents, management, production directors and trainer positions. Through July 2023,

13 UNICOR had approximately 79 full-time employees with twenty inmates on the waiting list. Over half

14 of UNICOR’s workforce is within 36 months of release and over sixty percent of its workforce is FTC

15 eligible. UNICOR holds recruitment open houses.

16                     viii.    ACT Work keys: This program develops proficiency in skills that employers seek,

17 ranging from applied math, graphic literacy and workplace documents. Since the program coordinator

18 recently promoted, DUB has suspended it until a new program coordinator is selected.

19                     ix.      Pest Management: DUB Safety and Education offer a Pest Management

20 Certification program, new is fiscal year 2023, offered through Purdue University. DUB will enroll
21 inmates and buy the necessary class materials as soon as Congress passes the new budget.

22                     x.       College of Alameda Logistics Certification (ATLAS PROGRAM): DUB has

23 partnered with the College of Alameda, which has received a grant to provide education to incarcerated

24 populations. This program, new in fiscal year 2023, meets Tuesdays and Thursdays at the SCP, and ten

25 SCP inmates are presently enrolled and working toward industry certifications, such as OSHA,

26 HAZMAT and FORKLIFT.

27                     xi.      Certified Quality Improvement Associate Certification (CQIA): DUB offers

28 partnership between UNICOR and Education and applies to careers as a quality specialist. The average

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 1 CQIA in the United States makes $74,000.00 per year.

 2                     xii.     Las Positas College Non-Credit Certificates: DUB and this college have partnered

 3 to provide Customer Service and Small Business Management non-credit certificates to inmates that

 4 successfully complete program requirements. Fifteen DUB FCI and 9 DUB SCP inmates are currently

 5 enrolled for fiscal year 2024. The Small Business Management program recently graduated fourteen

 6 inmates from the program for fiscal year 2023. Of note, the professor attended the graduation,

 7 introduced all her students and delivered the graduation address.

 8                     xiii.    Las Positas Associates Degree in Art (AA): DUB and this college partnered

 9 together on a three-year program that culminates in an Associates of Arts degree. The program is

10 currently in its third year with six inmates remaining from the original cohort. DUB has backfilled the

11 class with seven new inmates. While those seven inmates will not be able to complete the program, they

12 will earn transferable college credits for class completion.

13                     xiv.     Literary Programs: DUB offers GED, Spanish GED and ESL programs. Thirty-

14 six DUB inmates successfully completed their GED in fiscal year 2023. Seventy DUB inmates are

15 currently enrolled in the GED program. Four DUB inmates completed their ESL in fiscal year 2023.

16 Fifteen DUB inmates are currently enrolled in the ESL program.

17                     xv.      Library Time: The Education Department provides legal and leisure library access

18 to all inmates as follows:

19                              a. General Population Law Library: The DUB FCI affords inmates

20                                   approximately forty hours every week for law library use. The SCP affords

21                                   inmates approximately 100 hours every week for law library use.

22                              b. General Population Leisure Library: Both the DUB FCI and DUB SCP meet

23                                   the minimal policy thresholds to provide three hours daily, Monday through

24                                   Friday, and eight hours over the weekend.

25                              c. SHU Law Library: Inmates in the SHU may request access to legal research

26                                   materials located on the TRULINCS Electronic Law Library located in the

27                                   DUB FCI SHU Law Library by submitting a request to the SHU officer.

28                                   Requests for other legal information should be sent to the Supervisor of

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 1                                   Education (SOE) during the regular institutional mail or given to the SOE

 2                                   during regular weekly SHU rounds. Indigent inmates who need to work on

 3                                   legal work are provided typewriter ribbon if one is available for use. Supplies,

 4                                   such as typing paper, typing ribbons, and envelopes should be requested

 5                                   through the SHU officer. Use of the typewriter is specifically limited to the

 6                                   typing of legal work.

 7                              d. SHU Leisure Library: The DUB FCI custody staff brings the SHU book cart

 8                                   down range weekly to present a variety of leisure reading books. The

 9                                   Education Department keeps a variety of genres on the car and rotates them

10                                   quarterly.

11                              e. Inter Library Loan Program: DUB FCI has an active Interlibrary Loan

12                                   Program run through the company, Worldshare Interlibrary Loan. DUB

13                                   requires all inmates who seek to enter the program to receive ACE instruction

14                                   to be familiar with how to order books and the rules and regulations within the

15                                   program.

16                     xvi.     Barton Reading Program: DUB has a program set aside for those inmates

17 identified through diagnostic testing to have dyslexia. DUB must administer the program with a 1;1

18 student-to-instructor ratio for three hours per week. DUB currently has 3 inmates enrolled in the

19 program. DUB utilizes a staff teacher and volunteer from the local community to administer the

20 program.
21                     xvii.    ACE classes: American College of Education offers several programs by

22 degree, including but not limited to Business, Education, Healthcare, Leadership and Nursing. DUB had

23 over 780 program completions in fiscal year 2023.

24                              a. Barista Program: DUB runs this case as an ACE class and provides classroom

25                                   instruction and hands-on instruction with equipment and materials used in the

26                                   beverage industry, mainly coffee products.

27                              b. Resume Writing Program: DUB runs this case as an ACE class and ran a

28                                   mock job fair in September 2023 with approximately 35 inmates participating

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 1                                   and seven volunteers from the community conducting interviews.

 2                     xviii. Coastline Community College: DUB has partnered with this college, which offers

 3 free college education to incarcerated individuals via correspondence classes if the inmates are

 4 California residents. Class space is limited and provided on a first come, first served basis. Information

 5 on how to register and complete classes is posted to the inmate population each semester.

 6                     xix.     College Correspondence Classes: Inmates can register to take college classes via

 7 correspondence. They must register directly with the desired school and will have to pay for the tuition

 8 and materials themselves. The Education Department proctors the desired school’s tests, manages

 9 materials and ensures program credits are given within the SENTRY database. DUB has eight inmates

10 presently enrolled in this program.

11            68.       The DUB Recreation Department has consistently offered a variety of activities and

12 classes since coming out of the Covid-19 period:

13                     i.       First Step Act Productive Activities: DUB Recreation offers A Healthier Me in

14 the BOP, Arthritis Foundation Walk with Ease; Brain Health as You Age; and Health and Wellness

15 Throughout the Lifespan. The Recreation Department has also implemented the new Evidence-Based

16 Recidivism Reduction (EBRR) class- Inside & Out- Pathways to Transformation and Hope.

17                     ii.      Leisure Activities: DUB offers informal games, sports, physical fitness, table

18 games, hobby craft, music programs, intramural activities, holiday events and concerts.

19                     iii.     Intramural and Structured Activities: DUB offers informal games, sports, physical

20 fitness, table games, hobby craft, music programs, intramural activities, holiday events and concerts.
21 Sports include softball, baseball, soccer, dodge ball, kickball, jogging, table tennis, bingo and volleyball.

22 Certain programs are seasonal depending on weather and others rely on the participation level.

23                     iv.      Table games: DUB also offers table games, such as billiards, ping pong,

24 dominoes, chess, checkers, scrabble, and other various board and card games.

25                     v.       Hobby-Craft: The art and hobby-craft program enables inmates to make

26 constructive use of their leisure hours, use their skills and creative abilities constructively, and gain a

27 sense of accomplishment. These programs are intended for the personal enjoyment of inmates and the

28 opportunity to learn a new leisure skill. DUB presently offers twelve craft classes ranging from two to

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 1 twelve weeks.

 2            69.      The DUB Religious Services Department currently offers the following First Step Act

 3 (“FSA”)-related programs: Threshold, Houses of Healing, Faith-based Conflict Management and

 4 Embracing Interfaith Cooperation. Religious Services provides an array of weekly religious services for

 5 each religious group based on the population demands. Since coming out of Covid-19, staff have led

 6 weekly group services for about a year. The Supervisory Chaplain, who just arrived October 8, 2023,

 7 will be making updates and adding programs in the weeks and months ahead.

 8            70.      The DUB Reentry Affairs Coordinator offers the following First Step Act Productive

 9 Activities: (1) Disabilities Education Program; (2) Resilience Support (for Veterans); and (3) Women’s

10 Reflections Group.

11            71.      The DUB Special Populations Coordinator offers the FSA-related EBBR program,

12 Foundation. It helps newly incarcerated people chart a healthy path for themselves during their time of

13 incarceration. The Special Populations Coordinator runs three Productive Activities courses: (1) Change

14 Plan, a follow-up program to Foundation that focuses on strategies to assist with one of three changes

15 the inmate identified in the Foundation program; (2) Women’s Relationship II, Volume I, a program that

16 examines the relationship of inmates and explores building healthy relationships with self and others;

17 and (3) Aging Well- a program focusing on those 40 years and older that helps people age well in their

18 meaning and purpose, physical health, mental and emotional well-being, healthy relationships and future

19 plans.

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